  Case: 1:18-cv-00326-MWM Doc #: 85 Filed: 04/21/22 Page: 1 of 3 PAGEID #: 2655




                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF OHIO
                                  WESTERN DIVISION

Wendy Berry, Lorri Hulings, and Kathleen
Sammons, individually and as representatives of a                Case No. 1:18-cv-00326-TSB
class of similarly situated persons, and on behalf of
the FirstGroup America, Inc. Retirement Savings                  Judge Timothy S. Black
Plan,

                        Plaintiffs,
v.

FirstGroup America, Inc., FirstGroup America, Inc.
Employee Benefits Committee, and Aon Hewitt
Investment Consulting, Inc.,

                        Defendants.



      MOTION FOR ADMISSION PRO HAC VICE OF MATTHEW H. MORGAN

       Pursuant to S.D. Ohio Civ. R. 83.3(e) and 83.4(a), Plaintiffs, through their trial attorney,

George M. Reul, Jr., respectfully move the Court to admit Matthew H. Morgan pro hac vice to

appear and participate as counsel in this case for Plaintiffs.

       In support of this Motion, Plaintiffs state that Matthew H. Morgan is a member in good

standing of the highest court of Minnesota, as attested by the accompanying certificate from that

court, and that Matthew H. Morgan is not eligible to become a member of the permanent bar of

this Court. This Motion is accompanied by the required $200.00 fee.

       Matthew H. Morgan understands that, unless expressly excused, he must register for

electronic filing with this Court promptly upon the granting of this Motion.

       Matthew H. Morgan’s relevant business information is as follows:
  Case: 1:18-cv-00326-MWM Doc #: 85 Filed: 04/21/22 Page: 2 of 3 PAGEID #: 2656




Telephone: 612-256-3200
Address: Nichols Kaster, PLLP
           4700 IDS Center
           80 S 8th Street
           Minneapolis, MN 55402
E-mail:    morgan@nka.com


Dated: April 21, 2022                Respectfully submitted,


                                     FREKING MYERS & REUL LLC

                                     By: /s/ George M. Reul, Jr.
                                     George M. Reul, Jr. (0069992)
                                     600 Vine Street, Ninth Floor
                                     Cincinnati, Ohio 45202
                                     Telephone: 513-721-1975
                                     Facsimile: 513-651-2570
                                     greul@fmr.law

                                     NICHOLS KASTER, PLLP
                                     Paul J. Lukas, admitted pro hac vice
                                     Brock J. Specht, admitted pro hac vice
                                     Mark E. Thomson, admitted pro hac vice
                                     Jennifer K. Lee, admitted pro hac vice
                                     Steven J. Eiden, admitted pro hac vice
                                     4700 IDS Center
                                     80 S 8th Street
                                     Minneapolis, MN 55402
                                     Telephone: 612-256-3200
                                     Facsimile: 612-338-4878
                                     lukas@nka.com
                                     bspecht@nka.com
                                     mthomson@nka.com
                                     jlee@nka.com
                                     seiden@nka.com

                                     ATTORNEYS FOR PLAINTIFFS




                                       2
  Case: 1:18-cv-00326-MWM Doc #: 85 Filed: 04/21/22 Page: 3 of 3 PAGEID #: 2657




                              CERTIFICATE OF SERVICE

       I hereby certify that on this 21st day of April, 2022, a true and accurate copy of the

foregoing was filed electronically. Notice of this filing will be delivered to the parties by

operation of the Court’s electronic filing system. Parties may access this filing through the

Court’s system.

                                                  /s/ George M. Reul, Jr.
                                                  George M. Reul, Jr.




                                             3
